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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                               SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                                 CRIMINAL NO. 07-50097-02

 VERSUS                                                   JUDGE S. MAURICE HICKS, JR.

 VERNON CLAVILLE                                          MAGISTRATE JUDGE HORNSBY

                                  MEMORANDUM ORDER

        Before the Court is a Motion to Control Prejudicial Publicity (Record Document 48)

 filed by the defendant, Vernon Claville (“Claville”). Claville requests that “Defense counsel,

 all members of the U.S. Attorney’s staff, members of the Federal Bureau of Investigation,

 subpoenaed witnesses, clerks, and officials in attendance to this Court be forbidden from

 commenting upon the subject matter of the trial” to any press with news reporting coverage

 within Caddo Parish, Louisiana, during the course of the trial in the above-captioned

 matter. Record Document 48-2 at 1. Claville further requests that the press “be excluded

 from physically appearing within the rail in the Courtroom” during trial and that the press

 be “forbidden from taking [and publishing] photographs of the defendants and witnesses

 within the proximity of the Courthouse during the pendency” of the trial. See id. at 2. The

 Government opposed the motion, arguing that Claville’s motion is frivolous because it is

 overly broad in its scope; fails to cite a single legal authority in support of the motion; and

 the relief sought in the motion would violate the First Amendment. See Record Document

 75. For the reasons which follow, the Motion to Control Prejudicial Publicity is GRANTED

 IN PART and DENIED IN PART.

        At the outset, the Court notes that much of the relief sought by Claville is governed

 by the Local Rules of the Western District of Louisiana. Local Rule 83.3.9(A) provides:

        The taking of photographs in the courtroom or its environs or radio or
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        television broadcasting from the courtroom or its environs,1 during the
        progress of or in connection with judicial proceedings . . . , whether or not
        court is actually in session, is prohibited.

 Local Criminal Rule 53.9 pertains to special orders and states that “in a widely publicized

 or sensational case, the court, on motion of either party or on its own motion, may issue

 a special order governing such matters as extrajudicial statements by parties and

 witnesses likely to interfere with the rights of the accused to a fair trial by an impartial jury,

 the seating and conduct in the courtroom of spectators and news-media representatives,

 the management and the sequestration of jurors and witnesses and any other matters that

 the court may deem appropriate for inclusion in such an order.” Local Criminal Rule

 53.10(G) specifically provides that such special orders may be addressed to the seating

 of representatives of news-media. According to Rule 53.10(G)(1), this Court may issue “an

 order that no member of the public or news-media representative be at any time permitted

 within the bar railing.”

 Extrajudicial Statements

        The Fifth Circuit has held “that a district court may in any event impose an

 appropriate gag order on parties and/or their lawyers if it determines that extrajudicial

 commentary by those individuals would present a ‘substantial likelihood’ of prejudicing the

 court’s ability to conduct a fair trial.” U.S. v. Brown, 218 F.3d 415, 427 (5th Cir. 2000). The

 gag order must be “narrowly tailored and the least restrictive means available.” Id. at 428.

 Local Criminal Rule 53.9 also provides for gag orders in “widely publicized or sensational

 case[s]” where extrajudicial statements are likely to interfere with the rights of the accused



        1
        Local Rule 83.3.9(B) defines “environs” as “any place within any United States
 Courthouse wherein these Rules apply.”

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 to a fair trial by an impartial jury. At this phase of the case, approximately seven weeks

 before trial, the Court does not believe that the instant matter falls into the category of

 “widely publicized or sensational” as contemplated by the local rules. Likewise, Claville has

 not presented, and the Court finds none on its own, concrete evidence that extrajudicial

 commentary by the parties and/or lawyers would present a “substantial likelihood” of

 prejudice. If circumstances change, the parties are free to reurge this motion at that time.

 Seating and Conduct in the Courtroom of News-Media Representatives

        Claville has not challenged the media’s right under the First Amendment to send

 representatives to the trial in the instant matter. Instead, he requests that the press be

 excluded from physically appearing within the rail in the Courtroom. Such request is not

 only appropriate, but is, in the interest of courtroom decorum, the general and customary

 practice of this Court. Further, Local Criminal Rule 53.10(G) specifically provides that this

 Court may enter a special order in a “widely publicized or sensational” case addressing the

 seating of representatives of news-media and prohibiting news-media representatives from

 entering within the bar railing. Accordingly, and without characterizing this case as “widely

 publicized or sensational,” Claville’s request that the press be excluded from physically

 appearing within the rail in the Courtroom is granted since it is already the customary

 practice of this Court.

 Photography by News-Media Representatives

        Local Rule 83.3.8 provides:

        Unless authorized by the court, no camera, recording equipment, or other
        type of electrical or electronic device shall be brought into the premises. No
        person shall introduce or attempt to introduce any type of camera, recording
        equipment or other type of electrical or electronic device into the premises
        without court permission.


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 Local Rule 83.3.9(A) specifically prohibits “the taking of photographs in the courtroom or

 its environs or radio or television broadcasting from the courtroom or its environs, during

 the progress of or in connection with judicial proceedings . . . , whether or not court is

 actually in session.” Thus, Claville’s motion is granted to the extent that cameras,

 recording equipment, or other type of electrical or electronic device are not permitted inside

 the Courthouse and the press will not be permitted to take photographs in the courtroom

 or its environs. However, Claville also requested that the press be forbidden from taking,

 and then publishing, photographs of the defendants and witnesses within the proximity

 of the Courthouse during the pendency of the trial. This Court is cognizant of the balance

 between free press under the First Amendment and the accused’s constitutional right to

 a fair and impartial jury. See U.S. v. Dickinson, 465 F.2d 496, 501-502 (5th Cir. 1972). It

 is this Court’s responsibility “to protect the defendant from such inherently prejudicial

 influences which threaten the fairness of his trial and an abrogation of his constitutional

 rights.” Id. at 502. Yet, at this stage of the prosecution, the Court is not prepared to hold

 that this is the type of “widely publicized or sensational” case that requires a consideration

 of whether the additional requested restraints on the press are constitutional. Thus,

 Claville’s request that the press be forbidden from taking and publishing photographs of

 the defendants and witnesses within the proximity of the Courthouse during the pendency

 of the trial is denied.

        Accordingly,

        IT IS ORDERED that the Motion to Control Prejudicial Publicity (Record Document

 48) filed by the defendant, Vernon Claville, be and is hereby GRANTED IN PART and

 DENIED IN PART. Claville’s motion is granted to the extent that the press is prohibited


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 from physically appearing within the rail in the Courtroom and from taking photographs in

 the courtroom or its environs. Claville’s request for a gag order and the request that the

 press be forbidden from taking and publishing photographs of the defendants and

 witnesses within the proximity of the Courthouse during the pendency of the trial are

 denied.

         THUS DONE AND SIGNED in Shreveport, Louisiana on this the 8th day of April,

 2008.




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